Case 1:19-cv-21148-RNS Document 59 Entered on FLSD Docket 12/20/2019 Page 1 of 5



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          CASE NO.: 19-CV-21148-SCOLA
  BRYAN BOIGRIS,

        Plaintiff,
  v.

  EWC P&T, LLC,

        Defendant.
  _____________________________/

  EWC P&T, LLC,

        Counter-Plaintiff,
  v.

  BRYAN BOIGRIS,

        Counter-Defendant.
  _____________________________/

               DEFENDANT/COUNTER-PLAINTIFF’S UNOPPOSED
             MOTION TO SEAL MOTION FOR SUMMARY JUDGMENT
              AND STATEMENT OF MATERIAL FACTS IN SUPPORT

        Defendant/Counter-Plaintiff EWC P&T, LLC (“EWC”) by and through
  undersigned counsel, and pursuant to Southern District of Florida Local Rule
  5.4, as well as the Stipulated Protective Order entered by this Court [D.E. 46],
  files the instant Unopposed Motion to Seal EWC’s Motion for Summary Judgment
  and Statement of Material Facts (the “Motion to Seal”). In support thereof, EWC
  states as follows:
        1.     Southern District of Florida Local Rule 5.4 provides that a party
  seeking to file information or documents under seal in a civil case shall set “forth
  the factual and legal basis for departing from the policy that Court filings are
  public and that describes the information or documents to be sealed (the
  ‘proposed sealed material’) with as much particularity as possible, but without
  attaching or revealing the content of the proposed sealed material.” See S.D. Fla.
Case 1:19-cv-21148-RNS Document 59 Entered on FLSD Docket 12/20/2019 Page 2 of 5



  L.R. 5.4(b)(1). The motion to seal should also “specify the duration of the
  requested sealing.” Id.
        2.    The Stipulated Protective Order [D.E. 46] entered by this Court
  expressly contemplates factual and legal bases for departing from the policy that
  court filings are public. Specifically, Paragraph 12 of the Stipulated Protective
  Order requires that “[a]ll documents, information, or testimony filed with the
  Court by either party to this action which have previously been designated by
  the disclosing party as being CONFIDENTIAL MATERIAL or ATTORNEY’S EYES
  ONLY MATERIAL, and all items which reveal the content of such documents,
  information, and testimony, shall be filed under seal in accordance with Local
  Rule 5.4…” [D.E. 46 at ¶12] (emphasis added).
        3.    In compliance with paragraphs two (2) and five (5) of the Stipulated
  Protective Order, EWC certifies that it has designated, produced, and otherwise
  disclosed certain “CONFIDENTIAL MATERIAL” and “ATTORNEY’S EYES ONLY
  MATERIAL” during the course of discovery. Additionally, non-parties to this
  action have also produced certain documents which have been designated as
  “CONFIDENTIAL.”
        4.    The proposed sealed material involves information pertaining to:
                 (a) EWC’s business strategies, customer relationships (for both
                     product development and advertising campaign purposes),
                     product development of the goods at issue in this proceeding,
                     strategy presentations made to franchisees of EWC, and other
                     marketing strategies relative to EWC’s REVEAL ME, SMOOTH
                     ME, and RENEW ME trademarks (and the products sold
                     under those brands), including for use in connection at
                     European Wax Center® retail locations and EWC’s website
                     (www.waxcenter.com). This type of proprietary and sensitive
                     information should be sealed, both under the Stipulated
                     Protective Order, as well as the applicable case law. See, e.g.,
                     United States ex rel. Westfall v. Axiom Worldwide, Inc., 2008
                     U.S. Dist. LEXIS 104725, at *14 (M.D. Fla. Dec. 19, 2008)
                     (granting motion to seal pertaining to a training manual and
                     customer list).




                                          2
Case 1:19-cv-21148-RNS Document 59 Entered on FLSD Docket 12/20/2019 Page 3 of 5



                 (b) EWC’s sales data in relation to the number of products sold
                     in commerce under EWC’s REVEAL ME, SMOOTH ME, and
                     RENEW ME trademarks – including sales between EWC and
                     its business relationships with its franchisees – before
                     Plaintiff/Counter-Defendant Bryan Boigris (“Boigris”) filed his
                     intent-to-use trademark applications for the identical
                     trademarks.

                 (c) Documents produced by various non-parties, including main-
                     stream media outlets, who have designated their production
                     as being expressly confidential. These non-parties produced
                     documents pertaining to their internal and proprietary
                     website analytics, marketing/promotional strategies, and the
                     reach of the marketing relative to EWC’s promotional
                     campaign and media blitz for EWC’s REVEAL ME, SMOOTH
                     ME, and RENEW ME trademarks. One example of these non-
                     parties is PR Newswire Association, LLC.

                 (d) Documents produced by GoDaddy.Com, LLC (“GoDaddy”).
                     One of the issues in this case pertains to Boigris’ registration
                     of     multiple     domain       names      –      such       as
                     www.EuropaWaxCenter.com and www.EUWaxCenter.com –
                     all of which infringe on EWC’s registered European Wax
                     Center® trademark, as well as EWC’s www.WaxCenter.com
                     domain. The documents produced by GoDaddy have been
                     designated as confidential, and contain certain confidential
                     information, including contact and payment details for the
                     domain names at issue. Accordingly, information in EWC’s
                     MSJ pertaining to the GoDaddy records (including the records
                     themselves) should be filed under seal in compliance with the
                     Stipulated Protective Order.

        5.    In compliance with the local rules, EWC states that the duration of
  the proposed sealing will consist of:
              (a) EWC’s Statement of Material Facts, not to exceed ten (10) pages
                  [in compliance with Local Rule 56.1(b)(A)]; and

              (b) EWC’s Motion for Summary Judgment and incorporated
                  memorandum of law, not to exceed thirty-five (35) pages. In
                  compliance with Local Rule 7.1(a)(3), EWC has met and conferred
                  with counsel for Boigris, who is unopposed to EWC having the
                  additional fifteen (15) pages for its forthcoming Motion for

                                          3
Case 1:19-cv-21148-RNS Document 59 Entered on FLSD Docket 12/20/2019 Page 4 of 5



                 Summary Judgment. See [D.E. 56]. EWC recognizes that the
                 Court denied EWC’s prior motion for leave to exceed the page
                 limitations, on the grounds that EWC needed to submit the
                 proposed Motion for Summary Judgment “as a PDF attachment
                 to the motion” for leave. [D.E. 57]. However, EWC cannot submit
                 its Motion for Summary Judgment “as a PDF attachment to the
                 motion” for leave until it obtains an order from the Court,
                 granting EWC permission to seal its Motion for Summary
                 Judgment in compliance with, among other things, the
                 Stipulated Protective Order.

        6.    Accordingly, EWC respectfully requests that its forthcoming Motion
  for Summary Judgment and Statement of Material Facts in Support (together
  with the accompanying exhibits) be filed under seal.        Furthermore, it is
  respectfully requested that the documents be maintained confidential until the
  exhaustion of any and all appeals in this matter, at which time the documents
  should be destroyed.
        WHEREFORE, EWC respectfully requests that this Court enter an order:
  (1) granting the instant Motion; (2) permitting EWC to file under seal its
  forthcoming Motion for Summary Judgment and Statement of Material Facts in
  Support (together with the accompanying exhibits); and (3) granting such other
  and further relief as this Court deems just and proper.
                      Certificate of Good Faith Conference
        Pursuant to Local Rule 7.1(a)(3), counsel for the movant certifies that he
  has conferred with opposing counsel regarding the relief requested herein, both
  via email and in-person. Boigris’ counsel confirmed that there is no opposition
  to the instant Motion, including the relief requested herein. Opposing counsel
  nevertheless requested that the undersigned make clear that Boigris does not
  waive and reserves his rights under the Stipulated Protective Order relative to
  the mechanisms in place for challenging any documents that have been marked
  as CONFIDENTIAL MATERIAL or ATTORNEYS EYES ONLY MATERIAL.

  Dated: December 20, 2019                   Respectfully submitted,

                                             Jonathan R. Woodard
                                             John Cyril Malloy, III
                                         4
Case 1:19-cv-21148-RNS Document 59 Entered on FLSD Docket 12/20/2019 Page 5 of 5



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                                       5
